            Case 4:15-cv-03504-YGR Document 272-1 Filed 06/06/17 Page 1 of 7



     Bonny E. Sweeney (Cal. Bar. No. 176174)      Pat A. Cipollone, P.C. (pro hac vice)
 1   HAUSFELD LLP                                 Rebecca R. Anzidei (pro hac vice)
 2   600 Montgomery St., Suite 3200               Robert B. Gilmore (pro hac vice)
     San Francisco, California 94111              STEIN MITCHELL CIPOLLONE
 3   Tel: 415-633-1908                            BEATO & MISSNER LLP
     Fax: 415-358-4980                            1100 Connecticut Ave., N.W.
 4   bsweeney@hausfeld.com                        Washington, D.C. 20036
                                                  Tel: (202) 737-7777
 5   Richard Lewis (pro hac vice)                 pcipollone@steinmitchell.com
     Sathya S. Gosselin (Cal. Bar. No. 269171)    ranzidei@steinmitchell.com
 6   HAUSFELD LLP                                 rgilmore@steinmitchell.com
     1700 K St. N.W., Suite 650
 7   Washington, D.C. 20006                       Elizabeth C. Pritzker (Cal. Bar. No. 146267)
     Tel: 202-540-7200                            Jonathan K. Levine (Cal. Bar. No. 220289)
 8   Fax: 202-540-7201                            Bethany L. Caracuzzo (Cal. Bar. No. 190687)
     rlewis@hausfeld.com                          PRITZKER LEVINE LLP
 9   sgosselin@hausfeld.com                       180 Grand Avenue, Suite 1390
                                                  Oakland, California 94612
10                                                Tel. 415-692-0772
11                                                Fax. 415-366-6110
                                                  ecp@pritzkerlevine.com
12                                                jkl@pritzkerlevine.com
                                                  bc@pritzkerlevine.com
13
14
15   Interim Class Counsel
16
                               IN THE UNITED STATES DISTRICT COURT
17                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

18
                                                 Case No. 15-cv-03504-YGR-JSC
19   CHRISTOPHER CORCORAN, et al.,
                                                 CLASS ACTION
20                             Plaintiffs,
                                                 DECLARATION OF ELIZABETH C.
21         v.                                    PRITZKER IN SUPPORT OF
                                                 PLAINTIFFS’ ADMINISTRATIVE
22   CVS PHARMACY, INC.,                         MOTION TO FILE UNDER SEAL
                                                 MATERIALS DESIGNATED AS
23                             Defendant.        CONFIDENTIAL
24                                               Judge: Hon. Yvonne Gonzalez Rogers
25
26
27
28

     DECL. OF ELIZABETH C. PRITZKER ISO                           CASE NO. 15-CV-03504-YGR-JSC
     PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE
     UNDER SEAL MATERIAL DESIGNATED AS
     CONFIDENTIAL
             Case 4:15-cv-03504-YGR Document 272-1 Filed 06/06/17 Page 2 of 7




 1   I, Elizabeth C. Pritzker, declare as follows:
 2         1.       I am an attorney duly admitted to practice before this Court and am a partner of Pritzker
 3   Levine LLP, one of law firms representing plaintiffs and the proposed class in this litigation. I have
 4   personal knowledge of the facts stated herein and, if called upon to do so, could and would testify
 5   competently thereto.
 6         2.       Plaintiffs hereby request that the following documents be filed under seal, for the
 7   reasons set forth below:
 8                  a)      Portions of Plaintiffs’ Amended Motion for Class Certification;
 9                  b)      Portions of the Amended and Supplemented Declaration of Joel W. Hay, Ph.D.
10                          (Exhibit 1 to the Gilmore Decl.);
11                  c)      Portions of the Amended and Supplemented Declaration of Robert P. Navarro,
12                          Pharm.D. (Exhibit 9 to the Gilmore Decl.);
13                  d)      Portions of the Declaration of Susan Hayes (Exhibit 16 to the Gilmore Decl.);
14                  e)      Portions of the Declaration of Dale Chamberlain (Exhibit 17 to the Gilmore
15                          Decl.);
16                  f)      Exhibits 3, 5-8, 10-12, 14-18, 25, 32, 34, 42, 47, 48-50 to the Gilmore Decl., as
17                          described below.
18          3.      Pursuant to § 2.2 of the Revised Stipulated Protective Order (“Order”)(Docket No. 66,
19   filed December 14, 2015 and approved by the Court on December 15, 2015, Docket No. 67), each
20   party may designate as “Confidential” information that qualifies for protection under Federal Rule of
21   Civil Procedure 26(c). Pursuant to § 7.2 of the Order, disclosure of such information may be allowed
22   only to the categories of persons and under the conditions described in the Order.
23          4.      The Court has also previously sealed other portions of some of these deposition
24   transcripts in its rulings on the administrative motions to seal that were filed with respect to Plaintiffs’
25   original motion for class certification, reply, and oppositions to motions to strike Plaintiffs’ experts Dr.
26   Navarro and Dr. Hay, as noted in the chart below. See, in toto, Dkt. Nos. 250 through 256.
27
28   DECL. OF ELIZABETH C. PRITZKER ISO                                         CASE NO. 15-cv-03504-YGR-JSC
     PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE                                                       Page 1
     UNDER SEAL MATERIAL DESIGNATED AS
     CONFIDENTIAL
            Case 4:15-cv-03504-YGR Document 272-1 Filed 06/06/17 Page 3 of 7




 1         5.       The documents or portions of documents that were previously designated Confidential
 2   or contain information previously designated Confidential by defendant CVS are submitted under seal
 3   herewith, are as follows:
 4
 5       New Document or New              Designating Party and        Prior Orders re. Sealing
         Portion of Document              Confidentiality
 6       Sought to be Sealed              Designation
 7       Portions of Plaintiffs’          CVS- Confidential            N/A
         Amended Motion for Class
 8       Certification, at Statement of
         Facts, Heading B, pp. 1:7-8,
 9
         12-16, 23-26; 3:9; 4:16-18;
10       5:8-9, 16-18; 5:19-6:2;
         contents of Chart, p. 6; pp.
11       7:1-11; 8:12-14; 10:15-25;
         11:13, 15; 14:4-7; portions
12
         of footnotes 19, 34, 51
13
14       Exhibit 1 to the Gilmore         CVS- Confidential            N/A
         Decl.: Portions of the
15
         Amended and Supplemented
16       Declaration of Joel W.
         Hay,Ph.D, at Headings
17       III.C. and III.D.; portions of
         ¶¶ 10, 11, 15, 22; and Tables
18
         1 -4
19       Exhibit 3 to the Gilmore         CVS-Confidential             Previously sealed portions:
20       Decl., excerpts of deposition                                 pp. 9-12, 60-65, 70-72, 100-
         transcript of Thomas                                          102, 148-151, 154-156, 246-
21       Gibbons (30b6) (Dec. 13,                                      249, 258-261, 263 (Plfs.’
         2016) at pp. 247-248                                          reply to class cert., Ex. 42
22                                                                     (Dkt. 214-6), per order
23                                                                     [Dkt.255]

24
         Exhibit 5 to the Gilmore         CVS- Confidential            N/A
25       Decl.: CVS – Caremark
         (formerly PCS Health
26       Systems, Inc.) Agreement
27       dated March 31, 1997

28   DECL. OF ELIZABETH C. PRITZKER ISO                                  CASE NO. 15-cv-03504-YGR-JSC
     PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE                                                Page 2
     UNDER SEAL MATERIAL DESIGNATED AS
     CONFIDENTIAL
           Case 4:15-cv-03504-YGR Document 272-1 Filed 06/06/17 Page 4 of 7




 1      (CVSC-0356399)

 2      Exhibit 6 to the Gilmore         CVS- Confidential   N/A
 3      Decl.:     CVS - Optum
        (formerly Prescription
 4      Solutions) Prescription
        Drug Services Agreement
 5
        dated June 1, 1999 (CVSC-
 6      0342343)
        Exhibit 7 to the Gilmore         CVS- Confidential   N/A
 7      Decl.: CVS – Express
        Scripts Agreement dated
 8
        January 18, 2008 (CVSC-
 9      0325306)
        Exhibit 8 to the Gilmore         CVS-Confidential    N/A
10      Decl.: CVS-MedImpact
11      Agreement (Feb. 1, 2008)
        (CVSC-033819)
12
        Exhibit 9 to the Gilmore         CVS- Confidential   N/A
13      Decl.: portions of the
14      Amended and Supplemented
        Declaration of Dr. Robert
15      Navarro, at Headings III.A.-
        F, portions of ¶¶ 25, 30, ¶¶
16
        36 – 48, portions of ¶¶ 49,
17      52, 53, 60, 62, 70, 73 and 77,
        and footnotes 19, 27, 30, 43-
18      45, 72, 75
19      Exhibit 10 to the Gilmore        CVS- Confidential   Previously sealed portions:
        Decl.: excerpts of deposition                        pp. 9-12, 39-50, 69-71, 75-
20      transcript of Robert                                 79 (Plfs.’ prior mot., Ex. 6
21      Greenwood (Sept. 28, 2016)                           [Dkt. 170-15]), per order
        at 100-102                                           [Dkt. 250]
22
                                                             and
23                                                           pp. 10-12, 47-50, 298 (Plfs.’
24                                                           reply i.s.o of class cert., Ex.
                                                             46 [Dkt. 214-9]), per order
25                                                           [Dkt. 255]
26      Exhibit 11 to the Gilmore        CVS-Confidential    Previously sealed portions:
        Decl.: excerpts of deposition                        pp. 11-15, 21-24, 40-42, 247-
27      transcript of Susan Colbert                          251 (Plfs.’ reply i.s.o of mot.
28   DECL. OF ELIZABETH C. PRITZKER ISO                         CASE NO. 15-cv-03504-YGR-JSC
     PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE                                       Page 3
     UNDER SEAL MATERIAL DESIGNATED AS
     CONFIDENTIAL
           Case 4:15-cv-03504-YGR Document 272-1 Filed 06/06/17 Page 5 of 7




 1      (Oct. 26, 2016), pp. 47-48                             for class cert., Ex. 45 [Dkt.
                                                               214-8]) per order, [Dkt. 255]
 2
 3      Exhibit 12 to the Gilmore         CVS-Confidential     N/A
        Decl.: excerpts of deposition
 4      transcript of Deborah Veale
        (Aug. 11, 2016), p. 142
 5
 6
        Exhibit 14 to the Gilmore         CVS- Confidential    Sealed portions: pp. 6-13,
 7      Decl.: excerpts of the                                 85-87, 92 (Plfs.’ oppn. to
        deposition transcript of                               mot. to strike Navarro, Ex.
 8                                                             25 [Dkt. 205-25]), per order
        William Barre
 9      (MedImpact) (Nov. 17,                                  [Dkt. 252]; and
        2016), re. pp. 17-19
10
                                                               Sealed pp. pp. 9-17, 61-64,
11                                                             92 (Plfs.’ reply i.s.o mot. for
                                                               class cert., Ex. 50 [Dkt. 214-
12                                                             13]), per order [Dkt. 255]
13
        Exhibit 15 to the Gilmore         CVS- Confidential    N/A
14      Decl.: Medco 2009/2010
        Pharmacy Services
15      Manual (CVSC-0324389)
16
        Exhibit 16 to the Gilmore         CVS – Confidential   N/A
17      Decl.: Portions of the Expert
        Declaration of Susan
18
        Hayes: heading III.B.,
19      ¶¶ 12b.,12c., 22-28, 30,
        portions of ¶¶ 31 and 58,
20      and footnote 2
21      Exhibit 17 to the Gilmore         CVS – Confidential   N/A
        Decl.: Portions of the
22      Expert Declaration of Dale
23      Chamberlain: Heading
        III.C., portions of ¶11, all of
24      ¶ 31, and portions of ¶¶ 32,
        37, 38 and 40, and footnote
25      3.
26
27      Exhibit 18 to the Gilmore         CVS-Confidential     N/A
28   DECL. OF ELIZABETH C. PRITZKER ISO                           CASE NO. 15-cv-03504-YGR-JSC
     PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE                                         Page 4
     UNDER SEAL MATERIAL DESIGNATED AS
     CONFIDENTIAL
           Case 4:15-cv-03504-YGR Document 272-1 Filed 06/06/17 Page 6 of 7




 1      Decl.: CVS-Medco Retail
        Pharmacy Agreement
 2      dated January 1, 2005
        (CVSC-0355806)
 3
 4      Exhibit 25 to the Gilmore       CVS- Confidential          Sealed portions: pp. 6-9, 54-
        Decl.: excerpts of deposition                              65, 118-125, 138-141, 210-
 5
        transcript of Thomas                                       217, 242-249, 258-260 (Plfs.’
 6      Gibbons (TX action) (Sept.                                 prior mot., Ex. 7 [Dkt. 170-
        30, 2014) re. pp. 73-76                                    16]) per order [Dkt. 250];
 7                                                                 and
 8
                                                                   Sealed portions: pp. 9-12, 60-
 9                                                                 64, 70-72, 100-102, 148-151,
                                                                   154-156, 246-249, 258-261,
10                                                                 263) with Plfs.’ reply i.s.o of
11                                                                 class cert, Ex. 42 [Dkt. 214-
                                                                   6], per order [Dkt. 255]; and
12
                                                                   Sealed portions: pp. 58-65,
13                                                                 258-260 (Plfs.’ oppn. re.
14                                                                 Navarro, Ex. 2 [Dkt. 205-7]),
                                                                   per order [Dkt. 252]
15
16      Exhibit 32 to the Gilmore   CVS-Confidential               N/A
        Decl.: CVS’s 1 Supp. Resps.
                       st

17      To Pltfs’ Reqs. For
        Admission (May 10, 2017)
18
19      Exhibit 34 to the Gilmore       CVS-Confidential           N/A
20      Decl.: Email with Scriptsave
        presentation (Dec. 9, 2012)
21      (CVSC-0319522)
22
        Exhibit 42 to the Gilmore       CVS has expressly          N/A
23      Decl.: HSP Enrollment Form      designated this document
                                        Confidential on the
24
                                        document
25
26      Exhibit 47 to the Gilmore       CVS-Confidential           N/A
        Decl.:   Optum 2014
27
        Pharmacy Manual (CVSC-
28   DECL. OF ELIZABETH C. PRITZKER ISO                              CASE NO. 15-cv-03504-YGR-JSC
     PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE                                            Page 5
     UNDER SEAL MATERIAL DESIGNATED AS
     CONFIDENTIAL
             Case 4:15-cv-03504-YGR Document 272-1 Filed 06/06/17 Page 7 of 7




 1       0332806)

 2       Exhibit 48 to the Gilmore        CVS-Confidential                 N/A
 3       Decl.: MedImpact 2014
         Provider Manual (CVSC-
 4       0351027)
 5
         Exhibit 49 to the Gilmore        CVS- Confidential                N/A
 6       Decl.: Caremark 2009
         Provider Manual (CVSC-
 7       0023470)
 8
 9       Exhibit 50 to the Gilmore        CVS- Confidential                N/A
         Decl.:   Express Scripts
10       2015 Provider Manual
         (CVSC-0273734)
11
12
            5.      Based upon my review of these materials, CVS’s prior Confidential designations, and
13   the Court’s prior orders regarding the sealing of the same or similar information, the requested relief is
14   necessary per Civil Local Rule 79-5(e) to protect the confidentiality of information contained in these
15   briefs and exhibits that is derived from, or consists wholly of, documents designated as Confidential
16
     by defendant CVS under the terms of the Revised Protective Order.
17
            6.      Plaintiffs do not take a position as to whether these documents have been appropriately
18   designated as Confidential and are appropriately filed under seal for purposes of Plaintiffs’ motion for
19   class certification. Plaintiffs reserve any right to object to proposed sealing or redaction of documents
20   with respect to other motions.
21          I declare under penalty of perjury under the laws of the United States of America that the
22
     foregoing is true and correct.
23          Executed this 6th day of June, 2017 in Oakland, California.
24
25
                                                          By: /s/ Elizabeth C. Pritzker
26                                                               Elizabeth C. Pritzker
27
28   DECL. OF ELIZABETH C. PRITZKER ISO                                       CASE NO. 15-cv-03504-YGR-JSC
     PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE                                                     Page 6
     UNDER SEAL MATERIAL DESIGNATED AS
     CONFIDENTIAL
